              Case 22-41025-pwb                        Doc 3      Filed 08/29/22 Entered 08/29/22 13:51:23                              Desc Main
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 Fill in this information to identify your case:

 Debtor 1         Preston                     A.                      Channell
                  First Name                  Middle Name             Last Name

 Debtor 2
 (Spouse, if filing) First Name               Middle Name             Last Name                               Check if this is an amended plan, and
                                                                                                               list below the sections of the plan that
                                                                                                               have been changed. Amendments to
United States Bankruptcy Court for the Northern District of Georgia
                                                                                                               sections not listed below will be
                                                                                                               ineffective even if set out later in this
 Case number                                                                                                   amended plan.
 (if known)




Chapter 13 Plan
NOTE:                        The United States Bankruptcy Court for the Northern District of Georgia adopted this form plan for use
                             in Chapter 13 cases in the District pursuant to Federal Rule of Bankruptcy Procedure 3015.1. See
                             Order Requiring Local Form for Chapter 13 Plans and Establishing Related Procedures, General Order
                             No. 41-2020, available in the Clerk’s Office and on the Bankruptcy Court’s website, ganb.uscourts.gov.
                             As used in this plan, “Chapter 13 General Order” means General Order No. 41-2020 as it may from time
                             to time be amended or superseded.

  Part 1:               Notices

To Debtor(s):                This form sets out options that may be appropriate in some cases, but the presence of an option on the form does not
                             indicate that the option is appropriate in your circumstances. Plans that do not comply with the United States Bankruptcy
                             Code, local rules and judicial rulings may not be confirmable.

                            In the following notice to creditors, you must check each box that applies.
To Creditors:               Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.

                             You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not
                             have an attorney, you may wish to consult one.

                             If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
                             confirmation at least 7 days before the date set for the hearing on confirmation, unless the Bankruptcy Court orders
                             otherwise. The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed. See
                             Bankruptcy Rule 3015.

                             To receive payments under this plan, you must have an allowed claim. If you file a proof of claim, your claim is deemed
                             allowed unless a party in interest objects. See 11 U.S.C. § 502(a).

                             The amounts listed for claims in this plan are estimates by the debtor(s). An allowed proof of claim will be
                             controlling, unless the Bankruptcy Court orders otherwise.

                             The following matters may be of particular importance. Debtor(s) must check one box on each line to state whether or
                             not the plan includes each of the following items. If an item is checked as “Not included,” if both boxes are
                             checked, or if no box is checked, the provision will be ineffective even if set out later in the plan, except 1.4.



                                          A limit on the amount of a secured claim, that may result in a partial
                                  § 1.1
                                          payment or no payment at all to the secured creditor, set out in § 3.2            Included              Not Included

                                          Avoidance of a judicial lien or nonpossessory, nonpurchase-money
                                  § 1.2
                                          security interest, set out in § 3.4                                               Included              Not Included


                                  § 1.3   Nonstandard provisions, set out in Part 8                                         Included              Not Included

                                          The plan provides for the payment of a domestic support
                                  § 1.4
                                          obligation (as defined in 11 U.S.C. § 101(14A)), set out in § 4.4.                Included              Not Included
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Debtor Preston A. Channell                                                                                Case number

  Part 2:       Plan Payments and Length of Plan; Disbursement of Funds by Trustee to Holders of Allowed Claims

§ 2.1 Regular Payments to the trustee; applicable commitment period.

       The applicable commitment period for the debtor(s) as set forth in 11 U.S.C. § 1325(b)(4) is:

       Check one:       36 months             60 months
       Debtor(s) will make regular payments (“Regular Payments”) to the trustee as follows:

       The debtor(s) will pay $1,300.00 per month for the applicable commitment period. If the applicable commitment period is 36
       months, additional Regular Payments will be made to the extent necessary to make the payments to creditors specified in this plan, not
       to exceed 60 months unless the Bankruptcy Court orders otherwise. If all allowed claims treated in § 5.1 of this plan are paid in full prior
       to the expiration of the applicable commitment period, no further Regular Payments will be made.

       Check if applicable.

           The amount of the Regular Payment will change as follows (If this box is not checked, the rest of § 2.1 need not be completed or
            reproduced. Insert additional lines as needed for more changes.):

§ 2.2 Regular Payments; method of payment.

       Regular Payments to the trustee will be made from future income in the following manner:

       Check all that apply.

           Debtor(s) will make payments pursuant to a payroll deduction order. If a deduction does not occur, the debtor(s) will pay to the
            trustee the amount that should have been deducted.
           Debtor(s) will make payments directly to the trustee.
           Other (specify method of payment):

§ 2.3 Income tax refunds.

       Check one.

           Debtor(s) will retain any income tax refunds received during the pendency of the case.
           Debtor(s) will (1) supply the trustee with a copy of each federal income tax return filed during the pendency of the case within 30
            days of filing the return and (2) turn over to the trustee, within 30 days of the receipt of any federal income tax refund during the
            applicable commitment period for tax years          , the amount by which the total of all of the federal income tax refunds received for
            each year exceeds $2,000 (“Tax Refunds”), unless the Bankruptcy Court orders otherwise. If debtor’s spouse is not a debtor in this
            case, “tax refunds received” means those attributable to the debtor.
           Debtor(s) will treat tax refunds (“Tax Refunds”) as follows:


§ 2.4 Additional Payments.

       Check one.

           None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.

§ 2.5 [Intentionally omitted.]

§ 2.6 Disbursement of funds by trustee to holders of allowed claims.

       The trustee shall disburse funds in accordance with General Order No. 41-2020. (www.ganb.uscourts.gov/local-rules-and-
       orders).

  Part 3:       Treatment of Secured Claims

§ 3.1 Maintenance of payments and cure of default, if any.

       Check one.

           None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.

           Beginning with the first payment that is due after the date of the order for relief under Chapter 13, the debtor(s) will maintain the
            current contractual installment payments on the secured claims listed below, with any changes required by the applicable contract
            and noticed in conformity with any applicable rules. These payments will be disbursed directly by the debtor(s). Any existing
            arrearage on a listed claim will be paid in full through disbursements by the trustee, with interest, if any, at the rate stated below.


            If relief from the automatic stay is ordered as to any item of collateral listed in this paragraph, then, unless the Bankruptcy Court
            orders otherwise, all payments under this paragraph as to that collateral will cease, and all secured claims based on that collateral

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            will no longer be treated by the plan.
             Name of creditor                               Collateral                 Estimated amount of        Interest rate on      Monthly plan
                                                                                       arrearage (if any)         arrearage (if         payment on
                                                                                                                  applicable)           arrearage

             Swbc Mortgage                                  568 Chatsworth Hwy         $0.00                      0%                    $0.00
                                                            255 NE

§ 3.2 Request for valuation of security and modification of certain undersecured claims.

           None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.

§ 3.3 Secured claims to be paid in full.

       Check one.

           None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

           The claims listed below will be paid in full under the plan. Reasons for payment in full may include:

            (1) incurred within 910 days before the petition date and secured by a purchase money security interest in a motor vehicle acquired
            for the personal use of the debtor(s); or

            (2) incurred within 1 year of the petition date and secured by a purchase money security interest in any other thing of value; or

            (3) the value of the collateral exceeds the anticipated claim; or

            (4) the claim listed shall be paid in full because the claim is cosigned; or

            (5) the claim shall be paid in full because the debtor is not entitled to a discharge.

            These claims will be paid in full under the plan with interest at the rate stated below. These payments will be disbursed by the
            trustee.

            The trustee will make monthly preconfirmation adequate protection payments that 11 U.S.C. § 1326(a)(1)(C) requires to the creditor
            in the amount set out in the column headed Monthly preconfirmation adequate protection payment.

            The holder of any claim listed below will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

            (a) payment of the underlying debt determined under nonbankruptcy law, or

            (b) payment of the amount of the secured claim, with interest at the rate set forth below, and discharge of the underlying debt under
            11 U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

   Name of creditor              Collateral                      Purchase date        Estimated       Interest   Monthly pre-          Monthly post-
                                                                                      amount of claim rate       confirmation          confirmation
                                                                                                                 adequate protection   payment to creditor
                                                                                                                 payment               by trustee

   Coosa Valley Credit Union     2016 Chevrolet Traverse         6/29/2022            $21,523.00       4%        $177.00               $177.00 step to
                                                                                                                                       $540.00 in April,
                                                                                                                                       2023

   J & D Auto Sales              2015 Kia Forte                  7/29/2020            $10,000.00       4%        $109.00               $109.00 step to
                                                                                                                                       $251.00 in April,
                                                                                                                                       2023

   Performance Finance           utility vehicle                 1/29/2022            $16,252.00       4%        $125.00               $125.00 step to
                                                                                                                                       $406.00 in April,
                                                                                                                                       2023

§ 3.4 Lien avoidance.

       Check one.

           None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

§ 3.5 Surrender of collateral.

       Check one.

           None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

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§ 3.6 Other Allowed Secured Claims.

       A proof of claim that is filed and allowed as a secured claim, but is not treated as a secured claim in this plan, shall be paid with interest
       at the rate of 5.5 %. Payments will commence as set forth in § 2.6. Notwithstanding the foregoing, the debtor(s), and any other party
       in interest, may: object to allowance of the claim; request that the Bankruptcy Court determine the value of the secured claim if
       modification of the claim is permissible and if 11 U.S.C. § 506 is applicable; or request that the Bankruptcy Court avoid the creditor's lien
       pursuant to 11 U.S.C. § 522(f), if applicable.

       If the Bankruptcy Court determines the value of the secured claim, the portion of any allowed claim that exceeds the amount of the
       secured claim will be treated as an unsecured claim under Part 5 of this plan.

       The holder of the claim will retain the lien on the property interest of the debtor(s) or the estate(s) until the earlier of:

       (a) payment of the underlying debt determined under nonbankruptcy law, or

       (b) payment of the amount of the secured claim, with interest at the rate set forth above, and discharge of the underlying debt under 11
       U.S.C. § 1328, at which time the lien will terminate and be released by the creditor.

  Part 4:        Treatment of Fees and Priority Claims

§ 4.1 General.

       Trustee's fees and all allowed priority claims will be paid in full without postpetition interest. An allowed priority claim will be paid in full
       regardless of whether it is listed in § 4.4.

§ 4.2 Trustee's fees.

       Trustee's fees are governed by statute and may change during the course of the case.

§ 4.3 Attorney's fees.

       (a) The unpaid fees, expenses, and costs owed to the attorney for the debtor(s) in connection with legal representation in this case are
       $ 5,313.00 . The allowance and payment of the fees, including the award of additional fees, expenses and costs of the attorney for the
       debtor(s) are governed by General Order 42-2020 (“Chapter 13 Attorney’s Fees Order”), as it may be amended..

       (b) Upon confirmation of the plan, the unpaid amount shall be allowed as an administrative expense under 11 U.S.C. § 503(b) to the
       extent set forth in the Chapter 13 Attorney's Fees Order.

       (c) From the first disbursement after confirmation, the attorney will receive payment under the Chapter 13 Attorney’s Fees Order up to
       the allowed amount set forth in § 4.3(a).

       (d) The unpaid balance and any additional amounts allowed under § 4.3(c) will be payable (1) at $ 786.00 per month from Regular
       Payments and (2) from Tax Refunds or Additional Payments, as set forth in the Chapter 13 Attorney’s Fee Order, until all allowed
       amounts are paid in full.

       (e) If the case is converted to Chapter 7 before confirmation of the plan, the debtor(s) direct(s) the trustee to pay to the attorney for the
       debtor(s) the amount of $ 2,813.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits. If the
       attorney for the debtor(s) has complied with the applicable provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver,
       from the funds available, the stated amount or the maximum amount to the attorney, whichever is less.

       (f) If the case is dismissed before confirmation of the plan, fees, expenses, and costs of the attorney for the debtor(s) in the amount of
       $ 2,813.00 , not to exceed the maximum amount that the Chapter 13 Attorney's Fees Order permits, will be allowed to the extent set
       forth in the Chapter 13 Attorney's Fees Order. The attorney may file an application for fees, expenses, and costs in excess of the
       maximum amount within 14 days from entry of the order of dismissal. If the attorney for the debtor(s) has complied with the applicable
       provisions of the Chapter 13 Attorney's Fees Order, the trustee will deliver, from the funds available, the allowed amount to the attorney.

       (g) If the case is converted to Chapter 7 after confirmation of the plan, the debtor(s) direct(s) the trustee to deliver to the attorney for the
       debtor(s), from the funds available, any allowed fees, expenses, and costs that are unpaid.

       (h) If the case is dismissed after confirmation of the plan, the trustee will pay to the attorney for the debtor(s), from the funds available,
       any allowed fees, expenses, and costs that are unpaid.

§ 4.4 Priority claims other than attorney's fees.

           None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.


  Part 5:        Treatment of Nonpriority Unsecured Claims

§ 5.1 Nonpriority unsecured claims not separately classified.

       Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata, as set forth in § 2.6. Holders of these
       claims will receive:

       Check one.
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           A pro rata portion of the funds remaining after disbursements have been made to all other creditors provided for in this plan.

           A pro rata portion of the larger of (1) the sum of $    and (2) the funds remaining after disbursements have been made to all other
            creditors provided for in this plan.

           The larger of (1)  % of the allowed amount of the claim and (2) a pro rata portion of the funds remaining after disbursements
            have been made to all other creditors provided for in this plan.

           100% of the total amount of these claims

       Unless the plan provides to pay 100% of these claims, the actual amount that a holder receives will depend on (1) the amount of claims
       filed and allowed and (2) the amounts necessary to pay secured claims under Part 3 and trustee's fees, costs, and expenses of the
       attorney for the debtor(s), and other priority claims under Part 4.

§ 5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims.

       Check one.

           None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

§ 5.3 Other separately classified nonpriority unsecured claims.

       Check one.

           None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.


  Part 6:       Executory Contracts and Unexpired Leases

§ 6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
      contracts and unexpired leases are rejected.

       Check one.

           None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.


  Part 7:       Vesting of Property of the Estate

§ 7.1 Unless the Bankruptcy Court orders otherwise, property of the estate shall not vest in the debtor(s) on confirmation but will
      vest in the debtor(s) only upon: (1) discharge of the debtor(s); (2) dismissal of the case; or (3) closing of the case without a
      discharge upon the completion of payments by the debtor(s).

  Part 8:       Nonstandard Plan Provisions

§ 8.1 Check “None” or list Nonstandard Plan Provisions.

           None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

       Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included
       in this N.D. Ga. Chapter 13 Plan Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.
       The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3. (Insert additional lines if needed.)

       The debt described in § 3.1 above is a long-term debt related to debtor's mortgage as described in 11 U.S.C. § 1322(b)(5). Pursuant to
       11 U.S.C. § 1328, this debt is not subject to discharge.




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  Part 9:       Signatures

§ 9.1 Signatures of Debtor(s) and Attorney for Debtor(s).

       The debtor(s) must sign the initial plan and, if not represented by an attorney, any modification of the plan, below. The attorney for the
       debtor(s), if any, must sign below.


   /s/Signature
          Preston A. Channell
                 of debtor 1 executed on
                                                                            Signature of debtor 2 executed on
                                           08/29/2022
                                           MM / DD / YYYY                                                          MM / DD / YYYY


       568 Chatsworth Highway 255 NE, Calhoun, GA 30701
       Address                                    City, State, ZIP code         Address                                        City, State, ZIP code



  
   /s/ Matthew T. Berry
   Signature of attorney for debtor(s)
                                                                                Date:   08/29/2022
                                                                                        MM / DD / YYYY



       Berry & Associates                                                       2751 Buford Hwy NE, Ste 600, Atlanta, GA 30324
       Firm                                                                     Address                                      City, State, Zip code


By filing this document, the debtor(s), if not represented by an attorney, or the attorney for debtor(s) also certify(ies) that the wording and
order of the provisions in this Chapter 13 Plan are identical to those contained in the Local Form for Chapter 13 Plans that the Bankruptcy
Court for the Northern District of Georgia has prescribed, other than any nonstandard provisions included in Part 8.




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